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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

     NUANCE COMMUNICATIONS, INC.,

            Plaintiff,
                                                            Case No. 1:19-cv-11438-PBS
            v.


     OMILIA NATURAL LANGUAGE
     SOLUTIONS, LTD.,

            Defendant.



              REVISED JOINT STATEMENT PURSUANT TO LOCAL RULE 16.1(D)

            Pursuant to the Court’s instructions at the October 30, 2019 case management conference,

     as well as Local Rules 16.1(d) and 16.6, and the Court’s Notice of Scheduling Conference dated

     September 16, 2019, [Dkt. No. 24], Plaintiff Nuance Communications, Inc. (“Nuance”), and

     Defendant Omilia Natural Language Solutions, Ltd. (“Omilia NLS”), (together “the parties”),

     respectfully submit the following Revised Joint Statement.

I.          Topics Set Forth in FRCP 26(f)

        A. FRCP 26(a) Disclosures (FRCP 26(f)(3)(A))

            The parties do not believe there should be any changes in the form or requirements for

     disclosure under FRCP 26(a). The parties have exchanged FRCP 26(a) disclosures.

        B. Subjects on Which Discovery is Needed (FRCP 26(f)(3)(B))

            The parties anticipate seeking discovery regarding the Asserted Patents, Omilia NLS’

     Accused IVR Platform and the development thereof; the Parties’ financial information and other

     information relevant to patent damages, including lost profits or the calculation of a reasonable

     royalty; Plaintiff’s allegations; alleged prior art; and Omilia NLS’ asserted and potential defenses
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and counterclaims, which may include counterclaims as to the invalidity, unenforceability and/or

non-infringement of the Asserted Patents but also additional counterclaims relating to Nuance’s

conduct in the marketplace that will require discovery beyond that required by the patent-related

issues raised by Nuance’s complaint.

       As set forth below, in order to address the Court’s request to bifurcate and stay certain

patent claims as well as damages issues, the parties have incorporated phased discovery in their

proposals below.

   C. Electronic Discovery (FRCP 26(f)(3)(C))

       The parties believe that an order regarding Electronic Stored Information would be

advantageous, and attach as Exhibit A, a proposed STIPULATION AND [PROPOSED] ORDER

ESTABLISHING PROTOCOL GOVERNING PRODUCTION OF DOCUMENTS AND

ELECTRONICALLY STORED INFORMATION (“ESI”) (“ESI Order”).

   D. Privilege (FRCP 26(f)(3)(D))

       The parties jointly agree to the provisions of Rule 26(b)(5) of the Federal Rules of Civil

Procedure with regard to issues relating to claims of privilege or protection as to trial-preparation

material. The inadvertent production of privileged information will not waive any privilege. The

parties have included in their proposed Stipulated Protective Order an order under Federal Rule of

Evidence 502.

   E. Changes to Limitations on Discovery (FRCP 26(f)(3)(F))

       The parties agree that the Federal Rules of Civil Procedure and Local Rule 26.1(c) of the

United States District Court for the District of Massachusetts (“Local Rules”) shall control

limitations on discovery, subject to certain modifications or additions to the presumptive limits,

but disagree as to certain aspects of those modifications or additions:




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          Agreed Modification:

             The “one deposition” rule of the Federal Rules of Civil Procedure shall be modified,

              such that if a witness is deposed in Phase 1 and has knowledge relevant to a later

              phase of the proceedings, such witness may be deposed again in the later phase.

              Similarly, if a Rule 30(b)(6) topic is noticed in Phase 1 and is relevant to later

              phases, it may also be re-noticed in the later phase. To minimize the burden on

              third parties, discovery from any third party who may have documents or

              information relevant to both Phase 1 and a later phase may be conducted during

              Phase 1.

          Nuance’s Position:1

             A Rule 30(b)(6) deposition notice may not include more than 10 topics (counting

              conceptually distinct subparts of an enumerated item in the Notice of Deposition as

              separate topics). If the responding party designates multiple individuals to testify

              in response to a single notice, it shall count as a single deposition, provided that the

              aggregate time on the record for all designees does not exceed 15 hours. No single

              designee may be required to testify for more than 7 hours on the record.

             Pursuant to the Court’s comments at the October 30, 2019 Case Management

              Conference:

                  o Nuance shall select two patents for an initial phase of proceedings on

                      liability issues (“Phase 1 patents”).




1
 Nuance’s positions set forth below were included in a letter to Omilia NLS dated November 8,
2019. A copy of that letter is submitted herewith as Exhibit C.


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        o Discovery and all other proceedings relating to damages and the non-Phase

            1 patents shall be bifurcated and stayed until resolution of the liability issues

            on the Phase 1 patents. For clarity, Nuance’s position is that all damages

            discovery should be bifurcated and stayed; Omilia NLS should not be

            permitted to proceed with damages discovery on its proposed counterclaim

            if Nuance is not permitted to take damages discovery on its affirmative

            claims. Omilia’s position on this issue is at odds with the Court’s comments

            at the October 30, 2019 hearing concerning deferring damages discovery.

        o Nuance has provided a proposed trial date that is faster than the L.R. 16.6

            timeframe, consistent with the Court’s stated expectation that narrowing the

            Phase 1 patents would help move the case more quickly. Nuance believes

            that the extended periods proposed by Omilia NLS for fact and expert

            discovery are not necessary or warranted, even by the possible addition of

            its as-yet-unfiled counterclaim.

    In connection with the proposed phasing of proceedings:

        o Claim construction on Phase 1 patents shall be limited to no more than 4

            terms, with a total of no more than 10 terms to be construed for all patents

            in suit, in accordance with L.R. 16.6,

        o To narrow the issues for summary judgment and trial, as contemplated by

            the L.R. 16.6(c)(3), Nuance proposes limiting the number of asserted claims

            and prior art-based invalidity defenses (and counterclaims, if any).

            Following the Court’s Claim Construction Order, Nuance proposes




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            narrowing the asserted claims to a total of five for both patents and limiting

            the prior art references to no more than three per patent.

 Omilia NLS’ Position:

    Omilia NLS agrees with the concept of limiting the number of depositions, the

     number of 30(b)(6) deposition topics, and the number of email custodians but

     believes it is premature to set those limits before Omilia NLS has answered the

     complaint and asserted any counterclaims, as the latter may materially impact the

     scope of discovery in this case. Omilia NLS proposes that the parties shall confer

     10 days after Omilia NLS files its answer and counterclaims to discuss proposed

     limitations on discovery.

    Omilia NLS agrees that, consistent with the Court’s comments at the October 30,

     2019 Case Management Conference, discovery relating to the non-Phase 1 patents

     and all damages-related issues pertaining to Nuance’s patent infringement claims

     should be stayed. However, Omilia NLS believes that, as a matter of judicial

     economy and efficiency, discovery and other phases relating to Omilia NLS’ non-

     patent related counterclaims, if any, should proceed in parallel with discovery and

     claim construction relating to the Phase I patents. Accordingly, Omilia NLS’

     proposed schedule below relating to post-claim construction fact discovery, expert

     discovery, dispositive motions and trial includes fact discovery, expert discovery,

     dispositive motions and trial as to the issues raised by Omilia NLS’ non-patent

     counterclaims, if any, including damages. Under Omilia NLS’ proposed schedule,

     all such phases shall be complete and the case ready for trial by mid-October 2021,

     consistent with the timeframe set forth in Local Rule 16.6(c)(1).




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    Omilia NLS believes that the provisions of Local Rule 16.6(e) relating to claim

     construction proceedings, including the presumptive limit in Local Rule

     16.6(e)(1)(C) to no more than 10 claim terms for construction absent good cause,

     should apply to the Phase 1 patents. Omilia NLS does not believe that it is

     necessary or appropriate to further limit the number of claim terms to be construed

     as to the Phase 1 patents.

    Omilia NLS agrees with the concept of narrowing and streamlining the patent-

     related issues the Court will have to decide in this case but believes that, particularly

     due to the technology at issue, the complexity of the patents, the number of claims

     (49) and their breadth, limiting Omilia NLS’ prior art-based invalidity defenses

     (and counterclaims), if any, to no more than 3 prior art references per patent is

     arbitrary, unprecedented and may unfairly deprive Omilia NLS of an opportunity

     to present its defenses. The Local Rules do not provide for any such limitation.

     Nor is there any basis to tie, as Nuance does, a limitation in the number of patents

     and claims that Nuance may assert in Phase 1 to a limit in the number of prior art

     references Omilia NLS may assert as to any one patent. Nuance is free to assert

     other patents in a later phase of this action. However, particularly given the number

     and breadth of the claims at issue here, a three-reference-per-patent bar may

     unfairly preclude Omilia NLS entirely from raising certain invalidity defenses in

     this action altogether. Omilia NLS believes that the automatic patent-related

     disclosure provisions of the Local Rules are sufficient to ensure that the patent-

     related issues in the case remain streamlined and focused and move forward

     efficiently.




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         F. Protective Order Pursuant to FRCP 26(c) ((FRCP 26(f)(3)(F))

             The parties request the Court to enter a Protective Order and provide a Proposed Stipulated

      Protective Order attached as Exhibit B.

             The parties specifically note that all provisions of the proposed Protective Order are agreed

      to by the parties and such agreement fully addresses the issues relating to source code discovery,

      expert access to confidential materials, and outside counsel access to confidential materials, as

      raised by the Court at the October 30, 2019 conference.

II.          Parties’ Positions as to a Proposed Schedule

             The table below summarizes the parties’ positions as to a proposed schedule.

                                                                        Nuance New        Omilia New
                     Event                      Rule Reference
                                                                         Proposal          Proposal

                                                                                   completed
       Rule 16 Conference                       October 30, 2019


                                              FRCP 26(a)(1)(C): 14                 completed
       Serve Rule 26(a)(1) Initial
                                              days after the parties’
       Disclosures
                                              Rule 26(f) conference

       Plaintiff Nuance identifies two                                            By 11/13/19
       initial patents for initial phase of
       proceedings (the “Phase 1 patents”)

       Parties’ Submission of Revised                                             11/13/2019
       Joint Statement

       Damages issues, as well as the 6                                           11/13/2019
       non-Phase 1 patents, bifurcated and
       stayed effective as of this date

       Defendant Omilia files Answer and                                         By 12/2/2019
                                                 FRCP 12(4)(A)
       Counterclaims




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                                                                Nuance New   Omilia New
              Event                      Rule Reference
                                                                 Proposal     Proposal

File and Serve Preliminary          L.R. 16.6(d)(1)(A): 21              12/6/2019
Infringement Contentions on initial    days after initial
two patents for “initial phase”     scheduling conference

Conference Concerning                    L.R. 16.6(d)(2):              12/20/2019
Preliminary Patent Disclosures             21 days after
                                      16.6(d)(1)(A) deadline
Defendant’s Preliminary                                                 1/17/2020
Production

      Technical documents
      Source code                       L.R. 16.6(d)(4):
      Product samples               21 days after Conference
      Grounds for Invalidity        Concerning Preliminary
      Supporting documents to          Patent Disclosures
       Invalidity Defense
      Identity of Real Parties in
       Interest

                                     L.R. 16.6(d)(4)(D): 21             1/17/2020
File and Serve Preliminary
                                      days after Conference
Invalidity and Non-Infringement
                                     Concerning Preliminary
Contentions
                                       Patent Disclosures

Serve Claim Terms to be Construed                                       2/7/2020
and Proposed Claim Constructions
                                     L.R. 16.6(e)(1)(A): 21
(Claim terms subject to
                                        days after Rule
construction limited by L.R. 16.6 to
                                         16.6(d)(1)-(4)
10 total for all patents in suit; no
                                          disclosures
more than 4 terms to be construed
in initial phase)

Conference regarding                  L.R. 16.6(e)(1)(B): 7             2/14/2020
construction of claim terms           days after exchange

                                       L.R. 6.6(e)(1)(D): 14            2/28/2020
File Joint Statement and Joint
                                      days after exchange of
Claim-Construction Chart
                                           claim terms



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                                                                    Nuance New      Omilia New
              Event                        Rule Reference
                                                                     Proposal        Proposal

Mandatory ADR                                                              By 5/7/2020

File and Serve Simultaneous                                                  3/20/2020
Opening Claim Construction Briefs      L.R. 16.6(e)(2):
– if using expert testimony, brief 21 days after filing joint
must include expert declaration           statement



                                       L.R. 16.6(e)(3): not later            4/10/2020
Expert Testimony – depositions on
                                          than 21 days before
claim construction issues
                                       responsive brief due date

File and Serve Responsive Claim            L.R. 16.6(e)(4):                  5/1/2020
Construction Briefs
                                      42 days following
And submit technical tutorials with exchange and filling of
responsive briefs                       opening briefs

                                                                     5/14/2020       5/29/2020

                                           L.R. 16.6(c)(2):           Or at the   Or at the Court’s
Claim Construction Hearing                  9 months after            Court’s      convenience
                                        scheduling conference       convenience



                                        90 days after hearing,       8/14/2020       8/29/2020
Ruling on Claim Construction           per Court’s comments at
                                            10/30/19 CMC
[Subject to Nuance’s proposal to                                     8/28/2020       9/11/2020
limit both asserted claims and
asserted prior art after claim
construction ruling]
                                          14 days after claim
Plaintiff Nuance to serve disclosure      construction ruling
limiting asserted claims of Phase 1
patents to no more than 5 asserted
claims




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                                                                     Nuance New   Omilia New
               Event                        Rule Reference
                                                                      Proposal     Proposal

 [Subject to Nuance’s proposal to                                     9/11/2020
 limit both asserted claims and
 asserted prior art after claim
 construction ruling]

Responsive to Nuance’s narrowing
of the asserted claims, Omilia to
serve updated invalidity contentions,
asserting no more than 3 prior art
references for each of the Phase 1
patents.

                                             L.R. 16.6(c)(4):     10/30/2020      12/18/2020
                                          15 months after initial
                                        scheduling conference or
 Close of Fact Discovery                60 days after the Court’s
                                             ruling on claim
                                         construction, whichever
                                                  is later
 Serve Expert Reports Pursuant                                       12/4/2020    2/19/2021
 to Rule 26(a)(2) by the Party
 With the Burden of Proof

 Serve Responsive Expert Reports                                      1/8/2021     4/2/2021
 Pursuant to Rule 26(a)(2) by the
 Party Without the Burden of
 Proof

                                           L.R. 16.6(c)(5): 18        2/5/2021    4/30/2021
                                           months after initial
                                         scheduling conference
 Close of Expert Discovery
                                        or 90 days after the close
                                            of fact discovery,
                                            whichever is later

                                                                      4/2/2021     6/4/2021
 File Dispositive Motions and
 Daubert Motions




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                                                                        Nuance New        Omilia New
                       Event                      Rule Reference
                                                                         Proposal          Proposal

                                              L.R. 7.1(b)(2): 21 days    4/23/2021         7/16/2021
       File Oppositions to Dispositive
                                                after the motion is
       Motions and Daubert Motions
                                                       served

                                                                         5/13/2021        August 2021
       Summary Judgment and Daubert
       Motion Hearings

                                                L.R. 16.6(c)(1) 24       Trial starts      Trial starts
       Trial                                  months after scheduling     mid-July        mid-October
                                                   conference               2021              2021

                                                                            28 days          28 days
       CMC to discuss schedule, sequence
                                                                          following        following
       and issues to be addressed in
                                                                           return of        return of
       potential further phase
                                                                            verdict          verdict


III.           Certifications Pursuant to Local Rule 16.1(D)(3)

               The parties have separately filed the certifications required by Local Rules 16.1(D)(3).

               The parties propose that mediation be scheduled in early 2020, after they have exchanged

      initial disclosures under Local Rule 16.6, as indicated in the proposed schedule above.

IV.            Service of Documents

               The parties agree that pursuant to Fed. R. Civ. P. 5(b)(2)(E) and Local Rule 5.4 the

      language “all pleadings and other paper [including discovery] must be served on other parties by

      electronic means” includes service by email to all undersigned counsel for the served party and/or

      notifying a party via email to all undersigned counsel for the served party that materials are

      available for download and making those materials available via secure file transfer protocol

      (“FTP”). The parties agree that service by email to all undersigned counsel for the served party

      shall be deemed equivalent to service by hand.




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  V.           Trial by Magistrate Judge

               The parties do not consent to trial before a Magistrate Judge.

 VI.           Technical Tutorial

               Pursuant to Local Rule 16.6, the parties have conferred regarding the need for a technical

        tutorial, as well as the Court’s expressed interest in video tutorials, and agree to provide video

        tutorials as set forth in the proposed schedule above.

VII.           Live Testimony at Claim Construction (“Markman”) Hearing

               The parties have not yet determined whether live testimony may be required or helpful at

        the Claim Construction Hearing. The parties shall identify any potential witness testimony as part

        of their per-claim construction briefing disclosures.

VIII.          Settlement

               Plaintiff submitted a written settlement proposal to Defendant pursuant to Local Rule

        16.1(c) on October 16, 2019.




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Date: November 13, 2019


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                                    CERTIFICATE OF SERVICE

       I hereby certify that this document and all supporting declarations and filed through the

ECF system will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered

participants on November 13, 2019.

                                              /s/ Chris Mammen
                                              Chris Mammen
